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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                   4:12CR3055

       vs.
                                                        MEMORANDUM AND ORDER
MARTIN TELLEZ MONTOYA,

                      Defendant.


       The defendant Martin Tellez Montoya has requested a change of plea hearing, and
consents to having the hearing conducted before the undersigned magistrate judge.

       Accordingly,

       IT IS ORDERED:

       1)     The defendant’s request to set a change of plea hearing is granted. This case,
              insofar as it concerns this defendant, is removed from the trial docket based upon
              the request of the defendant.

       2)     A hearing on the defendant’s anticipated plea of guilty is scheduled before
              Magistrate Judge Zwart on October 9, 2012, at 9:30 a.m., in Courtroom No. 2,
              United States Courthouse and Federal Building, 100 Centennial Mall North,
              Lincoln, Nebraska.

       3)     The defendant, defendant’s counsel, and counsel for the government shall appear
              at this hearing.

       4)     On or before the date set for the plea proceeding, counsel for the government and
              for the defendant shall provide to the assigned probation officer their respective
              versions of the offense for purposes of preparing the presentence investigation
              report.

       5)     The ends of justice served by granting defendant’s request to set a change of plea
              hearing outweigh the interests of the public and the defendant in a speedy trial,
              and the time between today’s date and the anticipated plea of guilty shall be
              deemed excluded in any computation of time under the requirements of the
              Speedy Trial Act because the failure to grant additional time might result in a
              miscarriage of justice. 18 U.S.C. § 3161(h)(7).

       October 4, 2012.                            BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
